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                                               April 1, 2025

  VIA ELECTRONIC FILING

   The Honorable Stephanos Bibas
   James A. Byrne United States Courthouse
   601 Market Street
   Philadelphia, PA 19106

          Re:       Thomson Reuters Enterprise Centre GmbH et al. v. ROSS Intelligence Inc.,
                    C.A. No. 20-613-SB

  Dear Judge Bibas:

         In anticipation of the Pretrial Conference in this matter, Defendant ROSS requests the
  opportunity to renew the following:

                   ROSS’s motion in limine to exclude evidence or testimony regarding Charles von
                    Simson that was part of ROSS’s July 2024 pretrial submission (D.I. 624 at Ex.
                    15-2); and
                   ROSS’s position regarding statutory damages, reflected in the Daubert regarding
                    Malackowski (D.I. 274), which the Court held in abeyance. See D.I. 549 at 4.
                    Since the filing of the motion and the Court’s order, the Fifth Circuit has issued an
                    opinion on statutory damages for a single compilation. See Umg Recordings, Inc.
                    v. Grande Commc’ns Networks, L.L.C., 118 F.4th 697, 723-24 (5th Cir. 2024).

          ROSS informed Plaintiffs of their intention to raise these matters with the Court.


                                                          Respectfully,

                                                          /s/ David E. Moore

                                                          David E. Moore
  DEM:mes/12150469/20516.00001

  cc:     Counsel of Record (via electronic mail)
